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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS


U.S. Equal Employment Opportunity
Commission

v.                                           Case Number: 4:21−cv−03187

American Piping Inspection, Inc.




                              NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Alfred H Bennett
PLACE:       Courtroom 8C
             United States District Court
             515 Rusk Avenue
             Houston, Texas 77002
DATE: 1/28/2022

TIME: 09:30 AM
TYPE OF PROCEEDING: Initial Conference


Date: December 8, 2021
                                                        Nathan Ochsner, Clerk
